Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 1 of 8. PageID #: 342




 DOWD, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                                  )
 United States of America,                        )     CASE NO. 1:03 CR 165
                                                  )
                Plaintiff,                        )
                                                  )     MEMORANDUM OPINION
        v.                                        )     ANALYZING THE SENTENCING
                                                  )     FACTORS SET FORTH IN 18 U.S.C.
 Marcellus Smith,                                 )     SECTION 3553(a)
                                                  )
                Defendant.                        )

                                           I. Introduction

        The Sixth Circuit has remanded the sentencing of Marcellus Smith who was sentenced

 prior to the Booker decision. In the remand, this Court was told to articulate its reasons for

 imposing the two level firearm enhancement and also to elaborate on the factors it considered in

 a awarding only a two level downward departure for substantial assistance. The Court filed a

 memorandum opinion on November 2, 2006 (Docket No. 257) explaining the two level firearm

 enhancement and its reasoning for only awarding a two level downward departure for substantial

 assistance. As a consequence, the offense level for the defendant is 29 and with a criminal

 history category of I, the sentencing range is, as it was before, 87 to 108 months.

                         II. The Analysis Required by 18 U.S.C. § 3553(a)

        The Court sets forth its analysis of the sentencing factors required by Booker and the

 statutory guidance provided by 18 U.S.C. §3553(a) as follows:

        (a) Factors to be considered in imposing a sentence.
Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 2 of 8. PageID #: 343




 (1:03 CR 165)

        The court shall impose a sentence sufficient, but not greater than necessary, to comply

 with the purposes set forth in paragraph (2) of this subsection. The court, in determining the

 particular sentence to be imposed, shall consider -

        (1) The Nature and Circumstances of the Offense and the History and
        Characteristics of the Defendant

        The offense conduct has been described in paragraphs 15 through 26 of the presentence

 report and which follow:

                 The following information was obtained from the factual basis
                 portion of the Plea Agreement between the defendant and the
                 government, and the affidavit in support of the arrest warrant
                 issued in the instant offense.

                 Beginning at least as early as November of 2002, and continuing
                 through March of 2003, Marcellus Smith, Rohan A. Wilson, Tony
                 Wilson Green, aka Kevin Haughton, aka Jiba, Troy Williams, aka
                 Omar Pitter, Kerven Telsey, aka Jean Fritz, and Regina
                 Stackhouse, conspired to distribute more than 5 kilograms but less
                 than 15 kilograms of cocaine.

                 It was part of the conspiracy that Kerven Telsey introduced
                 Marcellus Smith to Rohan Wilson. Later Marcellus Smith began
                 obtaining quantities of cocaine from Rohan Wilson. Rohan Wilson
                 employed Troy Williams, aka Omar Pitter and Tony Wilson
                 Green, aka Kevin Haughton, to drive quantities of cocaine from
                 Florida to the Cleveland, Ohio area. Rohan Wilson would then fly
                 into Cleveland and meet the drivers at Marcellus Smith’s
                 apartment at 12613 Forest Avenue (down), Cleveland, Ohio.

                 Once at Marcellus Smith’s apartment, Rohan Wilson would
                 provide Smith with quantities of cocaine to distribute to his
                 customers. Rohan Wilson, Tony Wilson Green, and Troy
                 Williams, would also sell amounts of cocaine to their various
                 customers from Marcellus Smith’s home.

                 The first time Rohan Wilson had drivers bring cocaine to
                 Cleveland, Ohio was in the fall of 2002. During that trip, Rohan

                                                  2
Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 3 of 8. PageID #: 344




 (1:03 CR 165)

                 Wilson, Kerven Telsey, Troy Williams and others coordinated the
                 delivery of approximately 5 kilograms of cocaine. When the
                 cocaine was sold, Marcellus Smith paid Rohan Wilson for the
                 cocaine he had received and thereafter Wilson departed.

                 In March of 2003, Rohan Wilson, Kerven Telsey, Tony Wilson
                 Green, and Troy Williams and others coordinated another delivery
                 of cocaine to Marcellus Smith from Florida to Cleveland.

                 On March 20, 2003, members of several task forces, Cleveland
                 Police Officers and the Federal Bureau of Investigation personnel
                 made entry at 12613 Forest Avenue (up), pursuant to a search
                 warrant. As entry was made, the officers discovered that the
                 second floor residence was only occupied by seven females.
                 Officers then knocked on the entrance to the first floor residence
                 (down), and observed Rohan Wilson attempting to exit through the
                 first floor window.

                 Later investigation revealed that the defendant heard a loud
                 commotion and someone yelled, “Police out there.” The defendant
                 saw a couple kilograms of cocaine in a box on the floor in the front
                 living room. The defendant picked up the kilograms and felt them
                 before placing them back into the box. As the police started
                 shouting, the defendant ran to his bedroom to hide his gun, which
                 was lying on the dresser. The gun was later found under the
                 defendant’s bed.

                 While securing the first floor apartment, Kerven Telsey, Marcellus
                 Smith, Rohan Wilson, Tony Green, and Henry Smith Jr. (not
                 named in Indictment), were identified and detained.

                 During the search of 12613 Forest Avenue (down), officers and
                 agents recovered the following items: (1) two kilogram sized
                 sealed packages of suspected cocaine with a weight of more than
                 1000 grams each, (2) one .40 caliber S&W semi-automatic pistol
                 with one full magazine, (3) two digital scales, (4) one cocaine
                 press instrument, and (5) two pipes containing suspected drug
                 residue.

                 During the search of 12613 Forest Avenue (up), the residence of
                 Regina Stackhouse, officers recovered the following items: (1) five
                 heat sealed packages containing U.S. currency totaling $84,000.00,

                                                  3
Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 4 of 8. PageID #: 345




 (1:03 CR 165)

                 (2) one Footlocker bag containing over 100 grams of suspected
                 crack cocaine and over 300 grams of suspected powder cocaine.
                 Regina L. Stackhouse allowed Rohan Wilson and Marcellus Smith
                 to store 284.9 grams of cocaine and $89,101.00 in currency in her
                 residence. Although Regina Stackhouse did not participate in the
                 distribution of any cocaine, she knew that Wilson and Smith were
                 using her apartment to store and/or distribute cocaine. Regina
                 Stackhouse was not compensated by either Rohan Wilson or
                 Marcellus Smith for allowing them to use her residence in this
                 manner. According to Regina Stackhouse, Marcellus Smith is her
                 cousin.

                 On 3/21/03 Officers arrested Troy Williams at the Super 8 Hotel
                 located at 3795 Orange Place, Orange, Ohio, where Williams
                 consented to a search of his suitcase. Upon searching the suitcase,
                 the officers discovered a large amount of currency wrapped in
                 cellophane totaling $29,700.00.

        The defendant’s acceptance of responsibility, as set forth in paragraphs 30 of the

 presentence report, is as follows:

                 On July 1, 2003, the following unedited, typed statement was
                 received regarding the defendant’s actions in the instant offense:

                 “I admit my guilt and accept full responsibility for my criminal
                 conduct. On the date of my arrest, I was fully aware that several of
                 my co-defendants had brought to my house multiple kilograms of
                 cocaine. It was my intention to re-sell portions of the cocaine that
                 was discovered by police.

                 “I deeply regret my involvement in this offense. Soon after my
                 arrest, I provided a full statement of my involvement. Soon after, I
                 agreed to cooperate with the Government. I recognize that I will
                 receive a substantial prison sentence for my actions. However, I
                 intend to make the best out of a bad situation by participating in all
                 programs available in the institution to assist me upon my release
                 from prison.

                                        [signed] Marcellus Smith” [sic]




                                                   4
Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 5 of 8. PageID #: 346




 (1:03 CR 165)

        The defendant will be 30 on March 5, 2007. He has never married, but he has two

 children who are presumably 12 and 11. According to the sentencing memorandum filed on

 behalf of the defendant, in addition at the time of the defendant’s sentencing, he states that the

 mother of his children was pregnant and since his incarceration has given birth to twins. Against

 that background, the defendant contends that the mother of his children has never been able to

 provide adequate care and a stable residence for his children and so his goal, upon release from

 prison, is to provide stability for the children. Against that background, the defendant argues the

 sooner his release the better for his family. The defendant also contends that he has undergone

 significant rehabilitation while incarcerated.1

        (2) The Need for the Sentence Imposed

                 (A) to reflect the seriousness of the offense, to promote respect
                 for the law, and to provide just punishment for the offense;

        The defendant was involved in an interstate cocaine conspiracy that involved significant

 amounts of cocaine and resulted in a multi-defendant indictment. Only one of the defendants

 stood trial and that trial ended in a mistrial. Another defendant, Rohan Wilson, began trial with

 the defendant whose case ended in a mistrial, but Rohan Wilson entered a plea of guilty after the

 jury was impaneled and was sentenced to a term of 120 months.

        The defendant Telsey, whose trial ended in a mistrial, subsequently entered into a

 negotiated plea which resulted in a sentence of 30 months.



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        The sentencing memorandum filed on behalf of the defendant contains a two-page letter
 from Marcellus Smith to his lawyer. A copy of the two-page letter is attached hereto as
 Appendix I.

                                                   5
Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 6 of 8. PageID #: 347




 (1:03 CR 165)

        The sentences for the other defendants follows:

        Rohan Wilson was sentenced to 120 months imprisonment with five years supervisioned

 release; Tony Wilson Green was sentenced to 66 months imprisonment, 4 years supervised

 release; Troy Williams was sentenced to 96 months imprisonment with five years supervised

 release; Kerven Telsey was sentenced to 30 months imprisonment with three years supervised

 release and Regina Stackhouse was sentenced to five months imprisonment with three years

 supervised release.

        The interstate trafficking of cocaine is a serious problem for insular states such as Ohio

 even though there are no ports of entry for cocaine as on the two coasts. Against that

 background, it is important to impose sentences that reflect the seriousness of interstate

 trafficking in cocaine and with the accompanying devastating effects that it has on the inter-city

 population.

        Consequently, a substantial sentence is necessary to show respect for the law and provide

 just punishment.

                 (B) to afford adequate deterrence to criminal conduct;

        The government has argued that the Court should impose a sentence at the high range,

 i.e., 108 months. However, the Court is of the view that its previous sentence of 88 months was

 appropriate under all the circumstances and provides adequate deterrence to criminal conduct.

        The Court is aware that the defendant, while in prison, has apparently engaged in activity

 designed to assist his return to life with his family and the Court applauds such conduct.




                                                  6
Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 7 of 8. PageID #: 348




 (1:03 CR 165)

 However, the Court is of the view that the 88 month sentence must remain in effect to provide

 adequate deterrence to criminal conduct.

                 (C) to protect the public from further crimes of the defendant;

        The defendant’s criminal history category was I which suggests that he will not become a

 recidivist upon release from prison. Consequently, the Court is of the view that the public is

 protected from further crimes of the defendant by a sentence of 88 months.

                 (D) to provide the defendant with needed educational or
                 vocational training, medical care, or other correctional
                 treatment in the most effective manner;

        It is already apparent that the defendant is making good use of his time while in prison to

 further his education and vocational training. Specifically, the defendant has earned his GED;

 has successfully completed 12 hours of class room study in “Read and Grow Rich”; has

 successfully completed a mentoring program consisting of 15 hours of training; has successfully

 completed requirements for drug education and has successfully completed the ACE Advanced

 Circuit Training class.

                                         CONCLUSION

        For the reasons set forth herein, a sentence of 88 months with supervised release for five




                                                 7
Case: 1:03-cr-00165-DDD Doc #: 266 Filed: 11/22/06 8 of 8. PageID #: 349




 (1:03 CR 165)

 years and within the advisory guideline range, is a sentence sufficient, but not greater than

 necessary to comply with the purposes of 18 U.S.C. § 3553(a)(2).



        IT IS SO ORDERED.



  November 21, 2006                              /s/ David D. Dowd, Jr.
 Date                                          David D. Dowd, Jr.
                                               U.S. District Judge




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